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EXHIBIT A
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January 31, 2007
Via Electronic Transmission

Leslie V. Norwalk, Esq.

Acting Administrator

Centers for Medicare and Medicaid Services
Department of Health and Human Services
200 Independence Avenue, SW
Washington, DC 20201

Dear Acting Administrator Norwalk:

The United States Senate Committee on Finance (Committee) has exclusive
jurisdiction over the Medicare and Medicaid programs. Accordingly, the Committee has
a responsibility to the more than 80 million Americans who receive health care coverage
under Medicare and Medicaid to oversee the proper administration of these programs,
including reviewing pricing practices that could impact the cost to taxpayers of
purchasing prescription drugs. In recent years, the cost to Medicaid of purchasing
prescription drugs has grown faster than any other single area of the program. As a result
of the combination of increasing costs and tight fiscal constraints, some States have been
forced to reduce prescription drug benefits. Considering that prescription drugs are such
an integral part of quality health care, such reductions in benefits may be detrimental to
the health of Medicaid beneficiaries,

During the 199" Congress, the Committee studied issues relating to the Medicare
and Medicaid programs’ coverage of prescription drug benefits, including the use of the
nominal price exception (NPE/nominal pricing) under the Medicaid Drug Rebate
Program.' We write to share our findings to assist you in the rulemaking process in
which you are currently engaged.

In particular, the Committee was concerned about the consequences of nominal
pricing when used as a marketing tool, including, but not limited to, driving up best price
and lowering the amount of rebates manufacturers pay States for Medicaid drugs. Based
on the Committee’s review of nominal pricing, our Committee Staff crafted legislative
provisions regarding the NPE in the Deficit Reduction Act of 2005 (DRA), which the
President signed into law on February 8, 2006. Section 6001(d) of the DRA requires
manufacturers to report information on sales at nominal prices to the Secretary of Health
and Human Services (HHS). It also specifies the purchasers for which sales at nominal
prices may be excluded from the calculation of best price. It limits the merely nominal
exclusion to sales at nominal prices to the following: a covered entity described in section

' Congress amended the Social Security Act by adding section 1927, which created the Medicaid Drag
Rebate Program for outpatient pharmaceuticals, when it passed the Omnibus Budget Reconciliation Act of
1990 (OBRA 1990).
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340B(a)(4) of the Public Health Service Act (PHSA), an intermediate care facility for the
mentally retarded (CF/MR), a State-owned or operated nursing facility, and any other
facility or entity that the Secretary determines is a safety net provider to which sales of
drugs at a nominal price would be appropriate, based on certain factors such as type of
facility or entity, services provided by the facility or entity, and patient population.

On December 16, 2006, the Centers for Medicare and Medicaid Services (CMS)
issued a proposed rule seeking to implement the provisions of the DRA pertaining to
prescription drugs under the Medicaid program. The proposed rule addressed the
changes to the nominal price exception contained in section 6001(d) of the DRA, but
failed to give the Secretary the full authority Congress intended. The proposed rule
includes three of the four categories of purchasers for which manufacturers will continue
to be able to exclude sales made at nominal! prices from their best price calculations.
CMS’s elimination of the fourth category concerns us. The proposed rule also addresses
a broad range of issues relating to the determination of average manufacturer price
(AMP), determination of best price, treatment of authorized generics, and new
manufacturer reporting requirements, among others. In particular, we noted that CMS —
raised concerns regarding the continued use of the NPE as a marketing tool:

CMS has concerns that despite the fact that the DRA limits the nominal price
exclusion to specific entities, the nominal price exclusion will continue to be
used as a marketing tool. Historically, patients frequently remain on the same
drug regimen following discharge from a hospital. Physicians may be hesitant to
switch a patient to a different brand and risk destabilizing the patient once
discharged from the hospital. We believe that using nominal price for marketing
is not within the spirit and letter of the law. We are considering crafting further
guidance to address this issue. CMS invites comments from the public to assist us
in ensuring that all aspects of this issue are fuily considered.

Based on the Committee’s review of how the pharmaceutical industry has used
the NPE under the Medicaid Drug Rebate Program, we share CMS’s concern that
nominal pricing may continue to be used as a marketing tool. The purpose of this
letter is to report to CMS the Committee’s findings with respect to its review of
nominal pricing.

In 2004, we sent letters to 19 pharmaceutical manufacturers requesting
information and data to assess how frequently the NPE was used, in what
contexts, and for what purposes. In addition, we sought to determine: (1)
whether, and to what extent, the NPE is used to promote access to prescription
drugs as intended by Congress; and (2) whether refinements should be made to
the existing statutory language to ensure that the NPE is not used for purposes
other than those intended. Our Committee Staff focused on the top twenty
pharmaceutical manufacturers, based on U.S. sales in 2003.’ Our Committee Staff
also focused on data related to eight leading therapeutic drug classes by U.S. sales

* ttp://www.imshealth.com/ims/portal/front/articleC/0,2777,6599_42720942_44304255,00.html One of
the top-twenty manufacturers was excluded because it did not manufacture a brand name drug.
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in 2003.7 The eight drug classes reviewed were: statins, proton pump inhibitors,
anti-depressants, anti-psychotics, erythropoietins, seizure disorder drugs, calcium

channel blockers, and anti-arthritics/non-steroidal anti-inflammatory drugs
(NSAIDs).

In 2005, we sent a second letter to the same 19 pharmaceutical
manufacturers based on concerns that some manufacturers appeared to be
applying the NPE more broadly than Congress originally intended. The second
letter requested information to understand further how some manufacturers used
the NPE and why some others were not using it. Some manufacturers were asked
about their use of the NPE for periods of only one quarter. A number of
manufacturers were asked why they did not utilize nominal pricing, whether the
manufacturers’ customer bases included charitable organizations, and whether
other discounts or special pricing were offered to those customers. Finally, we
sent a third letter to one manufacturer, after our Committee Staff determined that
one manufacturer had used the NPE outside the timeframe of the Committee’s
inquiry. This third letter focused specifically on that manufacturer’s past policies
and practices with respect to the NPE. All manufacturers voluntarily complied
with the Committee’s requests for documents and information.

Our Committee Staff reviewed the manufacturers’ responses, including
information regarding written policies and procedures related to the NPE and
sales information on specific drugs. After reviewing the first and second round of
responses, our Committee Staff identified several specific practices and held
meetings with the six manufacturers that engaged in one or more of those
practices to learn more about them. The Committee Staff also contacted one
manufacturer that did not engage in nominal pricing to learn more about why it
had not used the NPE. During those conversations, our Committee Staff also
solicited opinions from the manufacturers’ representatives as to whether the NPE
should be subject to legislative or administrative changes.

In addition to information gathered directly from the pharmaceutical
manufacturers, our Committee Staff considered other relevant sources of information,
including: reviewing various reports prepared by the Government Accountability Office
(GAO) and the Office of Inspector General (OIG) at HHS related to prescription drug
coverage under Medicaid; analyzing HHS regulations regarding the Medicaid Drug
Rebate Program; and reviewing publicly available complaints and settlement agreements
from lawsuits where the use of the nominal price exception was part of alleged
misconduct by a number of pharmaceutical manufacturers. Our Committee Staff also
held meetings with CMS, the Department of Veterans Affairs (VA), the HHS OIG, and
the GAO to discuss the Medicaid Drug Rebate Program generally and the NPE
specifically.

* http://www. imshealth.com/ims/portal/front/articleC/0,2777,6599_42720942_ 44304299,00.html

* Some manufacturers did not produce a drug in any of the eight classes, therefore specific drug information
and data were not obtained from those manufacturers.
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Our Committee Staff determined that the NPE was used primarily as a
competitive or marketing tool among the pharmaceutical manufacturers surveyed and
was not used primarily for charitable purposes as intended by Congress. Our Committee
staff made eight observations based on the information submitted to and obtained by the
Committee:

1. Most manufacturers surveyed used the NPE inconsistent with Congressional
intent

2. Most manufacturers’ policies did not reflect use of the NPE for charitable
purposes

3. Most manufacturers used the NPE for products in the best-selling classes of drugs
4. Hospitals appeared to be the primary recipients of nominal pricing

5. Most manufacturers did not differentiate between for-profit and not-for-profit
entities when offering nominal pricing

6. A charitable purpose was rarely a factor considered by manufacturers in deciding
to offer nominal pricing

7. Manufacturers’ nominal pricing agreements frequently included market share
requirements

8. Manufacturers’ overall use of the NPE appears to have declined from 2003
forward

The Committee’s findings and observations are discussed below in more detail, preceded
by a brief background regarding the rationale for and Congressional intent behind the
NPE and its use for charitable purposes.

Nominal Pricing Backeround

Congress included the NPE in the Medicaid reforms of OBRA 1990 to ensure that
efforts to more closely align Medicaid’s drug pricing with pricing for private purchasers
did not threaten the steep discounts on pharmaceutical products offered to certain
purchasers, Recognizing that charitable and other organizations that provide health care
to populations with limited access to health care often receive special discount prices for
pharmaceutical products, Congress wanted to encourage manufacturers to continue
offering deep discounts to such purchasers. Specifically, by excluding nominal prices
from a manufacturer’s best price calculation, Congress, under the original law, intended
to allow pharmaceutical manufacturers to continue offering discounts to charitable
organizations without dramatically increasing the rebate due to states. If nominal prices
were not excluded from a manufacturer’s best price calculation, a manufacturer that
offered discounts to charitable organizations greater than those offered to regular
customers would have to remit to the State Medicaid program a rebate for the difference
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between AMP and the deeply discounted price. Concerned that manufacturers might stop
offering such discounts as a result, Congress saw the nominal pricing exception as a way
to maintain the practice of deep discounts to charitable organizations while still
attempting to more closely align Medicaid’s drug pricing with pricing for private
purchasers.

Legislative history provides some insight into the intended purpose of the NPE as
originally crafted. In 1990, before Congress passed OBRA 1990, the then-Chairman of
the Senate Special Committee on Aging prepared and submitted for publication in the
Congressional Record a statement entitled “Analysis of Drug Manufacturer Medicaid
Drug Discount Proposals and Necessary Elements of Medicaid Drug Price Negotiation
Plan,” which stated that under the Rebate Program, the “merely nominal” prices that were
excluded from best price calculations were those “such as the sale of birth control pills
for a penny a pack to Planned Parenthood.” A report by the Senate Special Committee
on Aging, entitled “Developments in Aging: 1990,” echoed this explanation for the
exception, stating that “Congress did not want to threaten” the dramatic discounts offered
to “charitable organizations and clinics” by requiring manufacturers to calculate and
remit rebates based on prices not calculated with the market or any profit motive in
mind.’ During Congressional deliberations on OBRA 1990, the Senate Committee on
Finance refined this explanation of “nominal price” slightly by defining the prices offered
to Planned Parenthood, for example, as “token” prices.

Our Committee Staff held discussions with CMS officials regarding the
regulatory history of the NPE. CMS officials told our Committee Staff that the definition
of nominal as Jess than ten percent of AMP was the product of negotiations involving
pharmaceutical manufacturers, pharmacists and the States. Specifically, CMS officials
stated that the charitable intent behind including the NPE in the original law was
mentioned dvring those negotiations.

The Department of Veterans’ Affairs (VA), a major purchaser of drugs, has
defined nominal prices more narrowly than CMS and described the conditions under
which it believes nominal pricing may be used. In 1996, the VA Office of General
Counsel sent a letter to pharmaceutical manufacturers that included the following
discussion of nominal pricing:

The “nominal” pricing exclusion in the Veterans Health Care Act of 1992,
Section 603 G8 U.S.C. 8126) was not intended to protect incentive use schemes
by eliminating from non-FAMP calculations all below-cost sales of a covered
drug that result from customers’ purchases of sizable quantities of packages at a
standard commercial price. VA views “nominal” pricing as being pricing,
usually below cost, designed to benefit the public by financially aiding
disadvantaged, not-for-profit covered drug dispensaries or researchers using a
drug for an experimental or non-standard purpose.

In addition, in 2000, the VA proposed amending its Master Agreement with
pharmaceutical manufacturers to define “nominal price” as “[a]ny price less than 10% of
the non-FAMP in the previous quarter from a sale (usually below cost) designed to

*§. Rep. No. 102-28(1) (Mar. 22, 1991).
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benefit the public by financially aiding disadvantaged, not-for-profit covered drug
dispensaries or researchers using a drug for an experimental or non-standard purpose.®
VA officials advised our Committee Staff that the proposed change to the Master
Agreement was never adopted due to opposition from the pharmaceutical industry,
however, the VA’s interpretation of nominal pricing as stated in the 1996 letter has not
changed,

Nonetheless, several manufacturers surveyed by the Committee asserted that the
NPE in no way limits sales at nominal prices to not-for-profit or charitable organizations.
Several manufacturers, including those who did not use the NPE, stated to the Committee
that sales at nominal prices are defined mathematically and are not limited to certain
charitable organizations. For example:

Company G: “... the Act does not restrict nominal pricing solely to not-for-
profit entities ....“

Company _J: “lt is the company’s understanding that, as currently defined by
Congress, the Medicaid Rebate Agreement and CMS, a nominal price is
determined mathematically as any price less than ten percent of the AMP in the
same quarter for which the AMP is computed.”

Company kK: “[Company K] interpret[s] the phrase “nominal price,” for
purposes of the Medicaid program, to denote a quantitative test in accordance
with Section L.(s) of the Medicaid rebate template issued by [CMS].”

It appears to us that manufacturers were on notice that the primary intent of the
NPE was to benefit charitable organizations. We note that some manufacturers have
been legally counseled against broadly interpreting the NPE. For instance, one major law
firm in Washington advised its clients in a “Health Care Reimbursement Client Alert:
Medicaid Rebate Program,” with the following precautionary statement:

The exclusion of nominal prices from BP [best price] calculations was primarily
intended to avoid a chilling effect on manufacturers’ in-kind contributions to
charitable programs. CMS has adopted a bright-line rule that a nominal price is
any price lower than 10% of AMP for the quarter. ... Clients should also be
careful if relying on nominal price in ordinary commercial situations where the
absence of a purchase requirement might be questioned, because the exclusion of
nominal prices is likely to be interpreted narrowly by CMS and it could be an
area of potential inquiry on audit.

It appears to us that language in the explanatory material submitted by the
Committee during consideration of OBRA 1990 and the subsequent Senate Committee
on Aging report support the rationale and Congress’s intent to limit the use of the NPE to
charitable purposes. Congress most certainly did not intend for manufacturers to use the
NPE as a marketing tool. Recognizing that nominal price is not defined by statute and
that the definition adopted by CMS did not limit its applicability to charitable
organizations, Congress enacted the DRA provisions requiring manufacturers to report

° The Committee does not have the original draft amended Master Agreement, but obtained this definition
from the American Bar Association’s response to the proposed amendments.
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information on sales at nominal price to the Secretary and specifying the entities to which
the nominal price exception applies.

Nominal Pricing Observations

I. Most Manufacturers Surveyed Used the NPE Inconsistent with Congressional Intent

Based on the information provided to the Committee by the manufacturers
surveyed, it appears the pharmaceutical industry’s practice with respect to the NPE can
be grouped into three general categories: 1} manufacturers that appeared not to use the
NPE; 2) manufacturers that appeared to use the NPE consistent with Congressional
intent; and 3) manufacturers that appeared to use the NPE inconsistent with
Congressional intent. Four manufacturers fell into category 1, three fell into category 2,
and the majority of the manufacturers--12 out of 19-—fell into category 3.

Manufacturers J, L, O and R, reported that they did not use the NPE.
Manufacturer R, however, stated that it“... may consider use of the NPE under
circumstances where it is commercially useful to do so and where it can be offered for all
sales of a particular product to the relevant customer or customers for a period of at least
one full calendar year.” All 19 manufacturers reported having charitable organizations in
their customer base and no manufacturers reported refraining from nominal pricing
because it was ambiguous. Manufacturers L and R indicated that although they did not
use the NPE, they provided their products for free through patient assistance programs
and other organizations.

. Manufacturers C, G, and M provided information to the Committee that appeared
to demonstrate use of the NPE consistent with Congressional intent. Manufacturers C
and G sold drugs at nominal prices exclusively to not-for-profit organizations and did not
place any conditions on sales at nominal prices. These manufacturers did not make
nominal prices available to any not-for-profit organizations and only a very limited
number of drugs were made available at nominal prices. In addition, Manufacturer C
only offered nominal pricing for a limited period and did not offer any of its drugs for
’ sale at a nominal price at the time of the Committee’s inquiry. Manufacturer M had a
general policy not to offer its drugs for sale at nominal prices, but continued to offer a
drug it acquired to a single not-for-profit organization pursuant to a pre-existing
agreement.

Twelve manufacturers—A, B, D, E, F, H, I, K, N, Q, P, and S-—~ provided
information to the Committee that appeared to demonstrate use of the NPE inconsistent
with Congressional intent. Information regarding use of the NPE inconsistent with
Congressional intent is discussed more fully below.

2. Most Manufacturers’ Policies Did Not Reflect Use of the NPE for Charitable
Purposes

Not one of the 19 manufacturers surveyed had written policies or procedures that
. addressed use of the NPE; however, several manufacturers provided policies, operations
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procedures, best price assumptions, or similar documents that explicitly defined nominal
price and/or addressed the inclusion of nominally priced drugs in calculating best price.
Most manufacturers provided a description of their nominal pricing policy, but this was
typically limited to a description of how pricing practices/proposals/contracts are
evaluated or a statement that the company does not routinely make sales involving the
NPE. Most manufacturers’ policies did not reflect an intent to use the NPE for charitable
purposes. The policy descriptions provided by the manufacturers surveyed included the
following statements:

“(Manufacturer Q] does not routinely make sales at nominal price, therefore we
are not able to describe in detail the factors and circumstances which
[Manufacturer Q] takes into account in determining whether sales of covered
outpatient drugs should be made at prices that are considered to qualify for the
nominal price exception. Instead, [Manufacturer Q] would review each
transaction on a case-by case basis to ensure that the transaction met all legal
requirements and that the transaction had a rational business purpose...”

“Contract Prices that are less than 10% of a quarter’s Average Manufacturer
Price (“AMP”) are excluded from Best Price.” [Manufacturer P]

“Some products in [Manufacturer P’s] product line have generic alternatives, and
[Manufacturer P] sometimes elects to lower prices to establish price parity with
generic products. From time to time, this price matching may have resulted in a
price that could be calculated as nominal according to the definition set forth in
the statutes. [Manufacturer P] has generally applied the NPE to these prices.”

“Specific pricing at ten percent of AMP or less is not offered as a condition of
sale; however, when various discounts or other price concessions for a particular
customer are aggregated, it may be that some portion of the total price reduction
may be conditioned on the promise to purchase one or more additional drug
products. We note that such offers are contemplated by and protected by
elements of federal Jaw, to the extent that certain conditions are met. “
[Manufacturer F]

In addition, only two manufacturers—-G and |—specifically described the types of
entities eligible for the NPE and only Manufacturer I specifically indicated that its policy
was to use the NPE for charitable purposes.

3. Most Manufacturers Used the NPE for Products in the Best-Selling Classes of Drugs

The Committee obtained information regarding 84 drugs that were offered at
nominal prices by the manufacturers surveyed. Eighteen of these products were among
the eight best-selling classes of drugs. Ten of the 15 manufacturers that offered nominal
pricing offered at least one of these drugs at the NPE. Three manufacturers only offered
nominal pricing for their products in the eight best-selling classes of drugs. Of at least 30
drugs still offered at nominal prices as of March 2005, four were in the eight-best selling
classes.
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Two of the three manufacturers that used the NPE consistent with Congressional
intent offered nominal pricing on drugs from the eight best-selling drug classes.
Manufacturer C offered nominal pricing on only one drug and, of the three drugs offered
by Manufacturer G at nominal prices, two were in the eight best-selling classes.

4. Hospitals Appeared to be the Primary Recipients of Nominal Pricing

Hospitals appeared to be the primary recipients of nominal prices offered by those
manufacturers that used the NPE consistent with Congressional intent. For those
manufacturers that provided nominal prices only to not-for-profit entities, the NPE was
only available to select not-for-profit entities. Manufacturer C offered nominal pricing to
disproportionate share hospitals (DSH) that were participating covered entities in the
340B program, acute care teaching hospitals, and Federal government facilities
purchasing from the Federal Supply Schedule. Manufacturer G offered nominal pricing
“only with respect to certain of its products and only for certain not-for-profit hospitals.”

Hospitals were also the primary recipient of nominal pricing offered by those
manufacturers whose use of nominal pricing appeared inconsistent with Congressional
intent. Of the 12 manufacturers that offered nominal pricing to both for-profit and not-
for-profit customers, six manufacturers indicated that hospitals were their only, or main,
recipients of nominal prices. Another three manufacturers indicated that HMOs were
offered nominal pricing. Some manufacturers identified the types of hospitals that
received nominal pricing, which included acute care hospitals, DSH hospitals, teaching
hospitals, and public hospital systems. Other recipients of nominal pricing identified by
the manufacturers surveyed included Public Health Service covered entities, entities that
serve the uninsured and organizations that offer family planning services.

By making the NPE available almost exclusively to hospitals, it appears
manufacturers may have encouraged use of their drugs to the exclusion of competing
products. They may also have created a spillover effect whereby patients who received
their drugs while in the hospital continued to use them after discharge. Based on the
information provided by manufacturers, the Committee cannot conclude that the primary
intent of those manufacturers offering nominal pricing to hospitals was to compete
against other manufacturers’ products or create a spillover effect. However, other
information obtained by the Committee suggests that the use of nominal pricing in
hospitals may increase demand for a product outside the hospital setting.

For instance, comments submitted to the VA in response to its efforts to narrow
the definition of nominal price acknowledge that market penetration was the primary goal
of providing nominal pricing to hospitals. The American Bar Association and at least
one law firm representing a manufacturer, wrote to the VA concerning the nominal price
definition in VA’s 2000 draft Amended Master Agreement, and stated: “Nominal prices
have historically been granted to entities that do not fit within the VA’s narrow
definition. For example, a manufacturer may grant nominal prices to hospitals in order to
penetrate an established market...”

5. Most Manufacturers Did Not Differentiate Between For-Profit and Not-for-Profit
Entities

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Although many of the hospitals and other organizations that were offered nominal
prices may have been not-for-profit companies, not one of the manufacturers surveyed
indicated that this was the reason for offering nominal pricing. The Committee asked the
12 companies that appeared to use nominal pricing beyond Congressional intent to
identify differences in the way they treated for-profit and not-for-profit customers with
respect to determining eligibility for nominal pricing. One manufacturer did not address
the question, and the remaining 11 manufacturers indicated that there was no difference
in how for-profit and not-for-profit organizations were treated. The following are sample
responses from a few of these manufacturers:

“Purchasers are not limited to non-profit entities.” (Manufacturer P)

“In offering nominal pricing, [Manufacturer A] does not distinguish between for-
profit and not-for-profit entities, consistent with the Medicaid rebate statute and
the Medicaid rebate agreement.”

“(Manufacturer B] has not made distinctions between for-profit and not-for-profit
hospitals when determining eligibility for nominal prices.”

6. A Charitable Purpose Was Rarely a Factor When Offering Nominal Pricing

The Committee asked manufacturers to describe the factors and circumstances
taken into account when determining whether sales of covered outpatient drugs should be
made at nominal prices. Only one of the 15 manufacturers that reported using the NPE
indicated that the existence of a charitable purpose was a factor considered when offering
nominal pricing, while most manufacturers that reportedly used the NPE indicated that
competitive market factors were taken into account when offering nominal pricing. Four
manufacturers did not indicate to the Committee the factors and circumstances they took
into account when offering nominal prices. One manufacturer reported that it used
nominal pricing on a case-by-case basis when all legal] requirements were met and a
rational business purpose existed. Seven manufacturers listed a variety of factors,
including: the business or competitive environment for a product; the degree of formulary
control exercised by eligible customers; potential to increase patient access to the
product; health outcomes information; and patient population, affordability and public
policy considerations.

The following statements were made by manufacturers that indicated factors other
than a charitable purpose, such as competitive marketing, when determining whether
sales of covered outpatient drugs should be made at prices that are considered to fall
within the NPE:

“[Manufacturer 1] may offer Nominal Pricing on Multiple Source Drugs (i) to
meet generic pricing on that same drug or (ii) to government entities and to not-
for-profit institutions for charitable purposes.”

“....{ Manufacturer P] sometimes elects to lower prices to establish price parity

with generic alternatives to its products. From time to time, this pricing parity
may have resulted in a price that could be calculated as nominal according to the

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definition set forth in the Medicaid Rebate Agreement, and in such instances,
[Manufacturer P] has applied the NPE to these prices.”

“(Manufacturer E was presented with credible evidence of] a price offer froma
generic manufacturer that was nominal relative to the Company’s pricing
structure for [drug]. The Company exercised its right of first refusal and entered
into a, contract to sell [drug] to [customer] at the low price, hoping to maintain
brand loyalty through [customer’s] significant presence in the market.”

“Again, the determinative criteria were the competitive product pricing and the
degree of formulary control involved,” (Manufacturer 5)

“(Manufacturer &] constder[s] the market for the product (e.g., sites of demand,
training medical practitioners, ability to influence prescriber or patient behavior,
or formulary position), the nature of the customer, and the competitive
environment (existence of generic or lower cost competition).”

“When determining whether and to whom sales of covered outpatient drugs
should be made at nominal prices, as that term is defined in the rebate statute and
rebate agreement, [Manufacturer A] takes into account the relevant customer(s)
and the relevant economic and market conditions for sale of that particular
product. For example, [Manufacturer A} will consider the overall pricing strategy
for the product, the performance and pricing of competitive products, other
discounts offered on the product, the type of customer, the potential to increase .
patient access to the product, and the effect of any discounts (nominal or
otherwise) on net sales.”

“The existence of alternative products has generally been a factor in
[Manufacturer N’s] contracts with nominal pricing in that [Manufacturer N]
typically entered into those contracts at or near the time of patent expiration for
certain products mm order to try to retain sales in the face of competition from
generic alternatives. While far less common, [Manufacturer N] has also from
time to time entered into nominal pricing arrangements for certain products not
facing generic competition in situations involving alternative products, such as
situations involving nominal pricing from a competitive branded product.”

[Manufacturer H] takes a number of factors into consideration in developing
pricing and contracting strategies, including any decisions about whether nominal
pricing would be included in cur strategies. Those factors include, among others,
the business environment for a specific product, the number of competing
products, health outcomes information, patient population, competitor pricing,
affordability, and public policy considerations.

7. Nominal Pricing Agreements Frequently Included Market Share Requirements

A majority of the 15 manufacturers that reported using nominal pricing placed
conditions or limits on the offer of nominal pricing. The Committee asked manufacturers
what types of contractual arrangements govern their company’s drug sales that fall under
the NPE and specifically mentioned market share requirements and single quarter
nominal pricing. Three manufacturers-—-F, G, and Q——did not provide information on the
contractual terms associated with nominal! pricing. Another three manufacturers—C, E,
and M-—-indicated that there are no conditions attached to their offers of nominal pricing,
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and one manufacturer—B—-stated that, except for nominal price contracts with DSH
hospitals, contracts for sales at nominal prices generally included a market share
requirement. The remaining eight manufacturers—A, D, H, I, K, N, P, and S—all
indicated that contracts for sales at nominal prices involved one or more of the following
requirements or arrangements; market share requirements, volume requirements, nominal
prices offered only for a single quarter of the year, formulary placement requirements,
and unrestricted access requirements. Examples of manufacturer’s statements about
these terms follow:

“Contracts offering Nominal Pricing may include a market share percentage
provision.” (Manufacturer I

“Generaily, [Manufacturer A} pricing to institutional customers, including
hospitals, conditions discounts on various factors such as agreements to make
products available to patients on a less restrictive basis than would otherwise be
the case and market share performance criteria.”

“Market share requirements may or may not be the basis for some of a series of
discounts or other price concessions that may result in NPE pricing.”
(Manufacturer F)

“A market share percentage is included in [Manufacturer B’s] contracts with
hospitals as a requirement for eligibility for nominal pricing.”

“Certain historical contracts that included nominally priced products required
formulary access for the nominally priced product, and/or for some or all of the
other products in the contract.” (Manufacturer N)

“Certain historical contracts that included nominally priced products may have
required, in addition to formulary access or availability, the customer to make a
greater commitment to using the nominally priced and/or certain other products
in the contract by granting them ‘preferred’ or ‘exclusive’ positioning.”
(Manufacturer N)

All of these conditions or terms appear designed to increase the use of the product being
offered at a nominal price. The Committee believes that the inclusion of such terms in
nominal pricing contracts signals that the primary intent of the nominal price offer was to
increase market share, and was therefore inconsistent with Congressional intent.

Use of the NPE May Be Declining

As of March 2005, most of the manufacturers that reported using the NPE
indicated that they had reduced their use, stopped using it, or planned to stop using it
once existing NPE contracts expired. While most of the practices uncovered would not
be permitted under the DRA, only two manufacturers did not indicate an intention to
eliminate or limit use of the NPE. Five manufacturers no longer used the NPE at all, and
eight manufacturers had reduced or limited their use of the NPE. One manufacturer
explained that it was reducing use of the NPE because it originally used nominal pricing
only in an effort to meet price competition from a competitor that was offering its

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products at nominal price. Two manufacturers explained their decision to stop using
nominal pricing as follows:

“(Manufacturer N] discontinued its nominal pricing practices after concluding
that the technical and administrative complexity and cost needed to sustain the
nominal pricing programs outweighed the limited commercial benefits of
preserving such programs.”

“(Manufacturer S] evaluated the commercial results of each of its nominal price
contracts and determined that these discounts were not commercially justified.”

As with some manufacturers’ rationale for offering nominal pricing, the rationale offered
for discontinuing nominal pricing also appear related to pricing or business strategies.

We respectfully submit these findings and observations to assist CMS as it
considers crafting further guidance to address the use of the nominal price exception as a
marketing tool. In addition, we respectfully request that CMS keep the Committee fully
informed regarding the development of additional guidance and/or regulations pertaining
to the NPE. Finally, please let us know whether or not further statutory changes may be
necessary to address our shared concern regarding the NPE.

We look forward to hearing from you regarding the contents of this letter by
February 15, 2007. In particular, we are interested in your addressing the reason why, in
the proposed rule, the Secretary was not given the full authority Congress intended. Any
questions or concerns should be directed to our Committee Staff, David Schwartz and
Emilia DiSanto, at (202) 224-4515. All correspondence should be sent via facsimile to
(202) 228-2316 (majority) and (202) 228-2131 (minority), and original by U.S. mail. All
formal correspondence should be sent via electronic transmission in PDF format to
thomas _novelli@finance-rep.senate.gov or via facsimile to (202) 228-2131 and original
by U.S. mail.

Sincerely,

Max Baucus Charles E. Grassley
Chairman Ranking Member

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